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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO
  HANS GARCIA-JORDAN,

     Plaintiff,

                  v.
                                                     CIVIL NO. 15-1094 (JAG)
  DAVID SHULKIN, SECRETARY OF THE
  VETERANS AFFAIRS, et al.,

     Defendants.


                                         JUDGMENT

GARCIA GREGORY, D.J.

       Pursuant to the Court’s Opinion and Order issued today, Docket No. 54, Judgment is

hereby entered DISMISSING WITH PREJUDICE Plaintiff’s age discrimination and retaliation

claims under the ADEA. This case is now closed for statistical purposes.



       IT IS SO ORDERED.

       In San Juan, Puerto Rico, this 12th day of March, 2018.



                                                                   s/ Jay A. Garcia-Gregory
                                                                   JAY A. GARCIA-GREGORY
                                                                   United States District Judge
